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                               UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                 Case No. 8:19-CR-00047-JLS

12                Plaintiff,                    FURTHER ORDER GRANTING IN
13                                              PART MOTION TO EXCLUDE
            v.                                  EXPERT EVIDENCE (Doc. 473)
14
      STEPHEN WILLIAM BEAL,
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16                Defendant.
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 1          As set forth in the Court’s April 14, 2022 Order, and as discussed in the hearing
 2   on April 1, 2022, the Court ordered additional disclosures regarding the qualifications
 3   of Defendant’s trace evidence expert Christopher Palenik. (See Doc. 520, Order
 4   Granting in Part Motion to Exclude Expert Evidence and Requiring Additional Expert
 5   Disclosures at 8-10, 17 (“Apr. 14, 2022 Order”).) The Court has reviewed the parties’
 6   post-hearing filings. (See Docs. 536 (“Gov’t Supp. Info.”), 546 (“Def. Resp.”), 548
 7   (“Reply”).) Defendant’s post-hearing disclosure letter is attached as an exhibit to the
 8   Government’s supplemental filing. (See Doc. 536 at 12-14, Ex. E (“Apr. 22, 2022
 9   Discl. Ltr.”).)
10          As to the expert’s qualifications to opine in the specialized area of post-
11   explosion trace evidence, although offering additional argument and characterizations
12   of the expert’s qualifications, Defendant has simply not provided any additional
13   substantive disclosure that indicates that the expert is sufficiently qualified to offer
14   opinions based on his experience in this specialized area. (See generally Def. Resp.;
15   Apr. 22, 2022 Discl. Ltr.) Specifically, attending an unspecified number of
16   workshops and working on an unknown number of “cases” and “projects” in an
17   unspecified capacity is not sufficient to allow Palenik to opine as to what trace
18   evidence should or should not be present post-blast.
19          On this issue, notably, the defense criticizes the Government as overstating the
20   extent of Palenik’s expected testimony. It represents that “Palenik is not providing an
21   opinion that certain items should or should not exist post-blast. He is not providing an
22   opinion that a particular piece of evidence was or was not a part of an IED.” (Def.
23   Resp. at 1 (internal quotation marks omitted; emphasis in the original).) But this
24   criticism is difficult to reconcile with the representation made by the defense on the
25   very next page, which states that “Palenik’s critique is based on . . . the lack of
26   physical evidence representing certain components of a purposed IED and a lack of
27   trace of physical evidence representing the requisite components stated by the
28   government’s experts.” (Id. at 2 (internal quotation marks omitted).) Both of these
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 1   statements address Palenik’s opinions on what evidence is expected to be discovered
 2   after an IED explodes and on whether the items that were discovered at 11 Mareblu
 3   were part of an IED. Characterizing Palenik’s role as merely “critiqu[ing] the
 4   methodology and analysis of Government explosive-device experts” (Def. Resp. at 1),
 5   does not diminish the need to demonstrate his expertise in post-blast trace evidence
 6   analysis. Therefore, he may not offer expert testimony criticizing the conclusions
 7   drawn by Government experts Morefield and Finnerty regarding the trace evidence
 8   believed to have been either “near the explosion” or in “intimate contact with the
 9   explosive.”
10         Nor may Palenik opine that certain terms used by these two experts lack any
11   standardized definition. (See Def. Resp. at 2 (noting that “Morefield and Finnerty
12   failed to use standardized language when discussing items in close proximity or in
13   intimate contact with a bomb”).) The meanings assigned to these terms by the experts
14   can be explored by defense counsel on cross examination.
15         Nevertheless, Palenik has now sufficiently disclosed the basis for his conclusion
16   that the longitudinal ridgelines or seams on the wire fragments do not necessarily
17   indicate that the fragments came from a multi-conductor cord, and he may testify on
18   that topic. (See Apr. 22, 2022 Discl. Ltr. at 3.) This ruling does not undermine the
19   Court’s determination that the Government’s experts should be permitted to testify to
20   the contrary. (See Doc. 500, Order Denying Motions to Exclude Expert Evidence at 8
21   & n.1, 15-16.)
22         Similarly, this Order does not change the Court’s earlier rulings that Palenik
23   may testify “regarding how the Government’s experts’ use of particular equipment or
24   particular methods limit the results of their analyses,” that he may testify regarding
25   his analysis of the raw data regarding Item 310, and that he may testify regarding the
26   visual differences between the cardboard remnant and the exemplar box. (See Apr.
27   14, 2022 Order at 10.)
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 1         Finally, Palenik may not opine that certain evidence is sufficient for
 2   investigative purposes but not sufficient for prosecutorial purposes. (See Gov’t Supp.
 3   Info. at 1-4; Apr. 22, 2022 Discl. Ltr. at 2-3; Def. Resp. at 5-6.) In addition to being a
 4   new, untimely opinion, such an opinion invades the province of the jury in carrying
 5   out its fact-finding role and, in any event, is neither within the scope of Palenik’s
 6   expertise nor generally the proper subject of expert opinion.
 7         IT IS SO ORDERED.
 8         DATED: May 25, 2022
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                                             JOSEPHINE         L. STATON
                                             _________________________________
                                             The Hon. Josephine L. Staton
11
                                             United States District Judge
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